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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-cv-02304-WJM-GPG

   MEGAN MCFADDEN,
   LONNIE WHITE, and
   ANTONIO “A.J.” WHITE,

          Plaintiffs,

   V.

   MEEKER HOUSING AUTHORITY, a governmental entity,
   MELINDA PARKER, an individual,
   MICHELLE BUCKLER, an individual,
   EDY GEORGE, an individual, and
   STACIE KINCHER, an individual,

          Defendants.


               PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT


          Plaintiffs Megan McFadden, Lonnie White, and A.J. White, by and through their

   attorneys at RATHOD ǀ MOHAMEDBHAI LLC, hereby submit this Motion for Partial Summary

   Judgment and in support thereof state as follows:

                                           INTRODUCTION

          Although the extensive motions practice may suggest otherwise, this case is

   straightforward. Defendants discriminated against Plaintiffs based upon their disabilities and

   then interfered with their right to live free of such discrimination. For the following reasons,

   there is no dispute of genuine material fact that should deny Plaintiffs their request for summary

   judgment on Claims 1-5 and 7-10, and on all counterclaims brought against them.1


   1
    As discussed below, Plaintiffs seek summary judgment against only Defendant MHA on Claims 4, 5,
   and 9. Further, only the Whites seek summary judgment against Defendants on Claims 7, 8, and 9.

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                        MOVANTS’ STATEMENT OF MATERIAL FACTS2

   Facts Relating to the Parties

   1. Defendants manage Meeker Family and Elderly Housing located at 980 Karen Court,

       Meeker, Colorado 81641 (referred to below interchangeably as “MHA” and “Karen Court”).

       See Scheduling Order [ECF No. 94] at 8, Undisputed Facts (“UF”) ¶ 4.

   2. Defendant Meeker Housing Authority (“MHA”) was created pursuant to the Colorado

       Housing Authorities Law, C.R.S. § 29-4-201. See Scheduling Order at 8, UF ¶ 2.

   3. MHA is financially subsidized by the U.S. Department of Housing and Urban Development

       (“HUD”), which allows for low-income individuals to live at MHA without paying the full

       market rent. See Scheduling Order at 8-9, UF ¶ 4.

   4. Defendants receive subsidies from the federal government known as Housing Assistance

       Payments, which make up the difference between the reduced rent and the market value of

       the units. See Second Amended Answer (“SAC Answer”) [ECF No. 253] ¶ 48.

   5. Defendant Stacie Kincher began working as the Executive Director of MHA on or around

       May 16, 2016. See Ex. 1, Defendants’ Timeline of Events at 1.

   6. At all times pertinent to this matter, Defendants Melinda Parker, Michelle Buckler, and Edy

       George served on the MHA Board. See Scheduling Order at 9, UF ¶¶ 6-8.

   7. Defendants must comply with all HUD regulations and guidelines in the management and

       operation of MHA. See Ex. 2, Kincher-MHA Deposition at 156:13-17;3 Ex. 3, George

       Deposition at 23:3-10.



   2
     Where there is a genuine dispute of material fact, Plaintiffs have put forth Defendants’ position as true
   for purposes of this Motion. In doing so, Plaintiffs do not concede these factual disputes. Further, while
   some of the key disputes may be affirmatively acknowledged below, not all disputes will be noted herein.
   3
     Plaintiffs noticed two separate depositions of Defendants MHA and Kincher. Upon Defendants’ request,
   these depositions were combined so that Ms. Kincher’s testimony bound both herself and MHA.

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   8. As Board members, Defendants Parker, Buckler, and George are “under a statutory duty to

       comply or to cause strict compliance with all provisions of [the Housing Authorities Law]

       and the laws of the state of Colorado, and, in addition thereto, with each term, provision, and

       covenant in any contract, on the part of the authority to be kept or performed by the

       authority.” C.R.S. § 29-4-206.

   9. At all times giving rise to this matter, Plaintiffs lived at Karen Court and received subsidized

       housing for which they were eligible. See Scheduling Order at 10, UF ¶¶ 11-13; id. at 13, UF

       ¶ 32; see also Ex. 4, Whites’ Move-In Paperwork; Ex. 5, McFadden Move-In Paperwork.4

   10. At all times pertinent to this matter, Plaintiff Lonnie White lived with his son A.J. White.

       See Ex. 6, 2016.09.13 Lonnie White Decl. at ¶ 3; Scheduling Order at 10, UF ¶ 10.

   Facts Relating to Megan McFadden’s Disability and Disability-Related Needs

   11. Ms. McFadden has a well-documented record of mental health disabilities, including chronic

       dysthymic disorder, major depressive disorder, post-traumatic stress disorder, and anxiety,

       which have been diagnosed by at least five health care professionals since January 2014. See

       generally Ex. 7, McFadden Treatment Records;5 see also Ex. 8, Eliasen Dep. at 127:11-18,

       140:19-24 (describing Ms. McFadden’s disabilities as impacting her activities of daily

       living); Ex. 9, Vargas Dep. at 32:1-11 (describing Ms. McFadden’s depression and anxiety

       as significant enough to cause hospitalization); Ex. 10, Krueger Dep. at 24:16-25:1

       (describing chronic dysthymic disorder as a “chronic, longstanding depressive disorder”).



   4
     Defendants have taken the position that Exhibits 4 and 5 – along with Exhibits 34, 39, and 43 – must be
   filed under seal pursuant to Local Rule 7.2. Plaintiffs disagree that access to these filings should be
   restricted from the public. However, pursuant to the terms of the Protective Order, Plaintiffs will file
   these Exhibits under seal until this Court orders that they be filed publicly.
   5
     Due to the breadth of the medical records, Plaintiffs needed to split up Exhibits 7 and 13 into sub-parts
   for purposes of electronic filing. All pincites associated with these exhibits reference the page number of
   the combined file, which can be recreated by combining the subparts in Adobe.

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   12. Since at least January 2014, Ms. McFadden has been prescribed medications – including

      Paroxetine (Paxil), Latuda, Lorazepam, Fluoxetine (Prozac), and Wellbutrin – to manage her

      mental health disabilities. See generally Ex. 7.

   13. As of March 23, 2015, Ms. McFadden had been suffering from a “low mood” for 1.5 years

      and from “anxiety attacks” for one year, resulting in visits to the ER. Ex. 7 at 113.

   14. On January 19, 2016, Ms. McFadden reported to her therapist “having Panic Attacks, she had

      her heart racing, thought she was having a heart attack.” Ex. 7 at 16. Ms. McFadden also

      reported “avoiding situations, feeling cut off from others, and difficulty concentrating,” as

      well as “loss of pleasure, feeling down, trouble sleeping, feeling tired, and feeling bad about

      herself, along with occasional thought[s] she would be better off dead,” reporting that “these

      symptoms make it ‘very difficult’ for her to function.” Id.

   15. On January 19, 2016, Ms. McFadden’s therapist Catherine Eliasen, MSW, diagnosed her

      with “major depressive disorder, recurrent, moderate,” generalized anxiety disorder, panic

      disorder without agoraphobia, and post-traumatic stress disorder (“PTSD”). Ex. 7 at 23; see

      also Ex. 8 at 28:9-17 (Eliasen describing herself as an expert in diagnosing patients with

      depression and anxiety).

   16. As of April 6, 2016, Ms. McFadden was suffering from “[d]epressive symptoms of malaise,

      excessive sleeping, low motivation” and her anxiety was “not controlled” with medication.

      Ex. 7 at 68; see also Ex. 10 at 33:12-34:8 (testifying that Ms. McFadden’s dosage of anti-

      anxiety medication was increased at this time).

   17. On May 3, 2016, Ms. McFadden reported feeling suicidal the “Saturday before last” and

      noted that her prescription medication dosages had been “upped because she was having

      some ‘pretty serious panic attacks.’” Ex. 7 at 26.



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   18. On July 6, 2016, Ms. McFadden reported having a panic attack the previous week, describing

      the “absolute fear” she experienced and being “an emotional mess.” Ex. 7 at 40.

   19. On July 22, 2016, Ms. McFadden reported a chief complaint of panic attacks, which she

      described as “causing issues with coping daily.” Ex. 7 at 137.

   20. On October 13, 2016, Ms. McFadden reported that “she has more bad days than good days”

      and that “about two months ago she was very down; she had no plan for suicide but felt what

      is the point and others would be better off without her.” Ex. 7 at 52; see also Ex. 11, Levi

      McFadden Dep. at 97:18-98:9 (describing Ms. McFadden’s suicidal ideation occurring as

      recently as between May and July 2017).

   21. Ms. McFadden experiences approximately four to five panic attacks per month. See Ex. 12,

      Second Megan McFadden Dep. at 14:6-12; see also id. at 32:5-25 (testifying that panic

      attacks have led her to the ER room about four times); Ex. 11 at 136:17-137:10 (describing

      panic attacks Ms. McFadden experienced in 2016 and 2017).

   22. Ms. McFadden’s companion dog “can tell when I am starting to get anxious and when I am

      starting to panic and he will come and actively distract me.” Ex. 12 at 20:24-21:1. Chewy

      “is a great asset” for coping with stress. Id. at 39:3-4.

   23. Ms. McFadden reports that Chewy has “[i]mmensely” improved the quality of her life, “an

      intricate part of my stability.” Ex. 12 at 48:22-25; see also Ex. 7 at 29 (describing being

      “comforted by” Chewy).

   24. When Ms. McFadden is suffering from depression and anxiety, Chewy “pulls me out of my

      head” so that she “can concentrate on something besides what is going on inside myself.”

      Ex. 12 at 49:11-15; see also Ex. 7 at 137 (noting “good improvement of stress and anxiety




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      with use of her animal (dog) as emotional support”); see also Ex. 11 at 138:15-139:3

      (describing Chewy as mentally taking care of Ms. McFadden).

   Facts Relating to A.J. White’s Disability and Disability-Related Needs

   25. A.J. White has a well-documented record of mental health disabilities, including cyclothymic

      disorder, dysthymic disorder, major depressive disorder, anxiety, and ADHD, which have

      been diagnosed by numerous health treatment providers since 2008. See generally Ex. 13,

      A.J. White Treatment Records (highlighted for ease of reference); see also Ex. 10 at 24:16-21

      (describing dysthymic disorder as encapsulating depression).

   26. A.J. White, who is about to turn 22 years old, first began treatment for his mental health

      disorders when he was just ten years old. See generally Ex. 13; id. at 199.

   27. A.J. White began receiving treatment at ten years old after being hospitalized for suicidal

      ideation. A.J. White has been hospitalized for suicidal ideation about five times. See Ex. 13

      at 37, 50, 61, 94, 96, 104, 164, 200, 227, 291, 366; see also id. at 227 (noting that he had

      previously attempted suicide); id. at 61 (establishing that when 12 years old, he continued to

      have “thoughts about hurting myself”); id. at 200 (admitting to thinking about suicide as of

      October 2013).

   28. Over the years, A.J. White has been prescribed Zoloft, Sertraline, Vyvanse, Adderall, Celexa,

      Concerta, Strattera, Wellburtin, Trazodone, Abilify, Fluoxetine (Prozac), Lexipro, and

      Imipramine to manage his mental health disabilities. See generally Ex. 13.

   29. A.J. White reacts poorly to these medications, which negatively impact his depression,

      increase his feelings of anger, cause episodes of mania, and result in fatigue. See, e.g., Ex.

      13 at 37, 50-51, 335-336.




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   30. After he first moved to Meeker, A.J. White reported suicidal ideation, stating that “he often

      thinks about suicide . . . to escape.” Ex. 13 at 209. He also reported that “he has never felt

      joy and can’t remember a time he felt happy about anything.” Id. at 223.

   31. Intake notes also show that A.J. White had suffered at least one anxiety attack in or around

      December 2013, which was not his first. Ex. 13 at 229. A.J. White’s anxiety interacting

      with others impacts his ability to function in everyday life. Id.

   32. On January 29, 2014, Catherine Eliasen, MSW, remarked that A.J. White showed an

      “extremely high measurement of depression and anxiety,” was a “9 our [sic] of 9” on the

      depression scale, and was “severely depressed.” Ex. 13 at 233.

   33. On March 5, 2014, A.J. White was “still very depressed.” Ex. 13 at 243.

   34. On March 12, 2014, A.J. White reported that he had “got a cat” and that his depression was

      at a 5 out of 10 for most of the week. Ex. 13 at 255.

   35. Less than one month later, Ms. Eliasen remarked that she was “seeing some gradual changes”

      in A.J. White’s progress. Ex. 13 at 265.

   36. On April 16, 2014, A.J. White rated his depression as a “3 out [of] 10,” although his anxiety

      remained high at a “7-8 out of 10.” Ex. 13 at 267.

   37. A.J. White’s cats help him “stay focused, they help me be responsible and get up in the

      morning and take care of them, and give me a reason to wake up and feel happy.” Ex. 14,

      A.J. White Dep. at 265:21-24; see also id. at 375:2-5; Ex. 15, Lonnie White Dep. at 37:12-17;

      Ex. 8 at 170:10-23.

   38. Having companion cats has ameliorated the effects of A.J. White’s disabilities. Ex. 14 at

      266:3-6, 338:20-339:1, 376:4-19, 384:4-10; see also id. at 384:11-15 (describing the benefits

      of having two cats instead of one); Ex. 15 at 39:11-18; Ex. 8 at 104:13-15, 168:1-6.



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   39. Indeed, during a six-month period without a companion cat, A.J. White reported a need for

      increased mental health treatment. Ex. 14 at 74:5-16.

   40. Ultimately, A.J. White’s cats were so successful at helping him manage the symptoms of his

      disabilities that he stopped taking prescription medications. See Ex. 8 at 70:1-5; Ex. 14 at

      315:5-16, 318:16-319:3, 356:23-357:1, 371:19-373:15.

   41. Still, A.J. White continues to suffer from his disabilities. For example, in September 2016,

      A.J. White reported “problems with concentration,” “a persistent negative emotional state,”

      and “depressive symptoms.” Ex. 13 at 350.

   42. When he first moved to Meeker, Colorado in or around early 2014, A.J. White had been

      receiving disability benefits in the form of Social Security Income (“SSI”). See Ex. 13 at

      254; Ex. 14 at 362:3-8.

   43. In May 2014, the State of Colorado diagnosed A.J. White with a “Most Significant

      Disability” through its Division of Vocational Rehabilitation, finding him eligible for

      assistance with job placement, job training, vocational counseling and guidance, and more.

      Ex. 16, Vocational Rehabilitation Eligibility Determination.

   44. Throughout his high school education in Meeker, A.J. White was placed on an Individualized

      Education Plan (“IEP”) in which he was consistently diagnosed with a “serious emotional

      disability” up through his June 2016 graduation. Ex. 17, White IEP Records.

   45. A.J. White’s disabilities are also observable and apparent upon interacting with him. See Ex.

      18, Barr Deposition at 115:11-116:3; Ex. 15 at 17:1-18:5, 22:23-23:2.

   Facts Relating to Defendants’ Adoption and Enforcement of New Pet Policies During
   Summer 2016

   46. The Board’s duties include the creation and adoption of policies for MHA, including its pet

      policies. See Scheduling Order at 9, UF ¶¶ 6-8; Ex. 19, Buckler Deposition at 24:22-25:3.


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   47. As the MHA Executive Director, Defendant Kincher’s duties include the enforcement of

       policies for Defendant MHA. Scheduling Order at 9, UF ¶ 9.

   48. Prior to June 15, 2016, Plaintiffs were permitted to keep companion animals in their units.

       See Ex. 6 at ¶ 8; Ex. 20, 2016.09.13 A.J. White Decl. at ¶ 11; Ex. 12 at 10:13-24, 49:16-22.

   49. On June 15, 2016, the MHA Board voted to change the Karen Court pet policy to reflect that

       the need for companion animals “[m]ust be documented by a MD – MHA will not accept

       letters from psychologist, psychotherapists, or therapist, etcetera.” Ex. 21, Board Meeting

       Minutes at 2.

   50. On June 16, 2016, Defendant Kincher drafted a pet policy reflecting the change approved by

       the Board the day before. Ex. 22, 2016.06.16 Revised Pet Policy at 1. The new pet policy

       also stated that “[a]ll animals must be approved and registered with MHA,” including

       through “[p]ayment of deposit.” Id. at 2.

   51. In or around June 2016, a representative of MHA called the Pioneers Medical Center and

       asked its doctors to be cautious in writing companion animal recommendation letters. See

       Ex. 10 at 43:10-44:7, 45:7-46:6;6 see also id. at 47:19-48:6 (describing the call as a “once in

       a lifetime” situation); Ex. 24, 2016.10.03 Harmon-Rathod Letter; Ex. 25, First Megan

       McFadden Dep. at 57:9-58:14, 74:1-18; Ex. 12 at 13:5-22.

   52. On or around July 11, 2016, Defendant Kincher handed out copies of the “June 16, 2016 No-

       Pet Policy” to “all tenants.” See Ex. 26, MHA-Kincher Work Calendars at 1 (July 11, 2016

       entry); Ex. 1 at 1 (July 12, 2016 entry).

   53. On or around July 12, 2016, Defendant Kincher posted Notices of Violations and Infractions

       on Plaintiffs’ doors for “[h]aving a pet in your apartment at Karen Court,” a purported


   6
    The Pines is the name of one of the two housing complexes that together constitute MHA. See Ex. 23,
   2016.09.23 Barr Decl. at ¶ 8.

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       violation of Section 16, Paragraph 1 of their leases. Ex. 27, McFadden-Kincher-MHA

       Correspondence at 1; Ex. 28, Whites-Kincher-MHA Correspondence at 1.

    54. On July 20, 2016, the MHA Board approved imposing a “$300 non-refundable deposit for

       therapeutic pets at Karen Court.” Ex. 21 at 4.

    Facts Relating to Ms. McFadden’s Requests for and Denials of Reasonable
    Accommodations

    55. On July 22, 2016, Defendant Kincher posted a second Notice of Violations and Infractions

       on Ms. McFadden’s door for “[h]aving a pet in your apartment.” Ex. 27 at 2.

    56. On July 23, 2016, Ms. McFadden provided Defendant Kincher with a written request for a

       reasonable accommodation to allow her to keep her companion animal in her home without

       paying any fees. Ex. 27 at 3.

    57. On July 25, 2016, Ms. McFadden reiterated her request for a reasonable accommodation to

       allow her to remain in her unit with her companion animal and without paying the $300 fee.

       Ex. 29, 2016.07.25 Kincher-McFadden Conversation Tr. at 3:12-14, 4:6-9, 5:2-6.

    58. Ms. Kincher responded to Ms. McFadden’s multiple requests by stating that the Board was

       “cracking down” on animals, that she was “tired of moving up the proper chains,” and,

       “You’re going to have to take us to court. . . . Take us to court. That’s – that’s really it.”

       Ex. 29 at 3:6-7, 4:17-18, 5:12-17.

    59. During the July 25, 2016 conversation, Ms. McFadden presented Ms. Kincher with a letter

       from Catherine Eliasen, a licensed social worker, in support of her need for a companion

       animal and stated that she would soon be providing a similar letter from her medical doctor.

       Ex. 29 at 3:16-18; Ex. 30, McFadden Treatment Letters at 1.

    60. The next day, on July 26, 2016, Defendants held a special session board meeting “to discuss

       the reasonable accommodation request regarding Megan McFadden.” The MHA Board


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       “decided to waive the no-pet policy for her companion animal” as long as she produced “a

       letter from a psychiatrist” in support thereof and paid a “$300.00 security deposit” within 30

       days. Ex. 21 at 5.

    61. According to Defendants’ testimony, they “granted” Ms. McFadden’s reasonable

       accommodation request during this meeting. See Ex. 2 at 194:7-8, 201:5-21 (misstating date

       as August 26); Ex. 3 at 86:9-12; see also id. at 87:7-16 (confirming that a non-disabled

       person would not need a reasonable accommodation).

    62. However, according to Defendant Parker, the Board granted Ms. McFadden’s reasonable

       accommodation request by allowing her to stay at MHA “as long as she got rid of the dog.”

       Ex. 31, Parker Dep. at 51:18-25.

    63. Although Defendants had “granted” Ms. McFadden’s accommodation, Defendant Kincher

       provided Ms. McFadden with a 30-day Notice to Vacate the following day. Ex. 27 at 4.

    64. On July 27, 2016, and in accordance with the Board’s decision, Defendants drafted a revised

       pet policy requiring that tenants seeking to live with a companion animal procure a letter

       from a licensed psychiatrist – no longer accepting letters from medical doctors – and pay a

       $300 non-refundable “unit security deposit.” Ex. 32, 2016.07.27 Revised Pet Policy at 2-3;

       see also Ex. 1 at 1 (noting that the policy was handed out to tenants on July 27, 2016).

    65. Defendants later testified that Ms. McFadden’s verification letter from her medical doctor

       sufficiently established that she was disabled and in need of a companion animal. Ex. 2 at

       278:3-280:21; Ex. 31 at 51:12-16.

    66. On August 5, 2016, Ms. McFadden sent Defendant Kincher an email reiterating her request

       for a reasonable accommodation, asking her to “remove the notice to vacate and say yes to

       my requests for accommodation.” Ex. 27 at 5.



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    67. On August 12, 2016, Defendant Kincher denied Ms. McFadden’s reasonable accommodation

       request through a letter entitled “Eviction Notice letter for McFadden.” Ex. 27 at 5-6.

    68. On August 18, 2016, Ms. McFadden emailed Defendant MHA stating that “the other

       violations you cited me for were due to my need for my dog,” adding, “I have repeatedly sent

       over the appropriate medical paperwork regarding my dog and I should be allowed to stay

       with my dog. Please do not do this – my children and I need our home.” Ex. 27 at 7.

    69. On August 22, 2016, Defendant Kincher wrote Ms. McFadden that “[t]he Meeker Housing

       Authority Board of Directors have reviewed [your] e-mail regarding your eviction. . . . The

       board still stands by their decision of eviction, and the violations still apply.” Ex. 27 at 8.

    70. On August 24, 2016, Ms. McFadden sent an email to Defendant Kincher expressing that she

       was “terribly afraid of becoming homeless with my children” and reiterating her request that

       Defendants “please let me stay with my dog.” Ex. 27 at 9.

    71. On August 25, 2016, Defendant Kincher responded stating that she had “visited with the

       board and they would be happy to give you an extension if you were to find a new home for

       your dog in the process.” Ex. 27 at 9.

    72. After repeated threats of eviction, Ms. McFadden moved out of her subsidized unit at Karen

       Court on September 8, 2016. See Ex. 33, CHFA Investigation Findings at 1 (noting correct

       move-out date). Defendants’ paperwork lists Ms. McFadden’s move-out as an eviction. See

       Ex. 34, 2016.09.15 McFadden Move-Out Form (misdated).

    Facts Relating to the Whites’ Requests for and Denials of Reasonable Accommodations

    73. On July 20, 2016, Plaintiff Lonnie White attended the monthly MHA Board meeting. At the

       meeting, Lonnie White asked for a reasonable accommodation for his son A.J. White to keep

       his two companion animals in their unit without paying the $300 fee, providing Defendants



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       with a copy of a January 22, 2015 letter from licensed social worker Catherine Eliasen in

       support. Ex. 21 at 3; Ex. 6 at ¶¶ 20-22; see also Ex. 28 at 7.

    74. The next day, on July 21, 2016, Defendant Kincher provided the Whites with a letter

       informing them that “the MHA board of directors, made its decision to keep the zero pet

       policy enforced at Karen Court. It was also agreed upon that there will be a $300 non-

       refundable deposit for each pet that qualifies for being a certified therapeutic pet though [sic]

       the state of Colorado.” Ex. 28 at 2.

    75. On July 22, 2016, Defendant Kincher posted a second Notice of Violations and Infractions

       on the Whites’ door for “[h]aving a pet in your apartment at Karen Court.” Ex. 28 at 3.

    76. Five days later, on July 27, 2016, Defendants drafted a revised pet policy limiting tenants to

       no more than one companion animal per unit knowing that A.J. White had more than one

       companion animal. Ex. 32 at 2; Ex. 18 at 96:18-97:1; Ex. 23, 2016.09.23 Barr Decl. at ¶ 43.

    77. The following day, Defendant Kincher posted a third Notice of Violations and Infractions on

       the Whites’ door for “[h]aving a pet in your apartment at Karen Court.” Ex. 28 at 4.

    78. On August 5, 2016, Defendant Kincher posted a fourth Notice of Violations and Infractions

       on the Whites’ door for “[h]aving a pet in your apartment at Karen Court.” Ex. 28 at 5

       (second “Second” notice).

    79. On August 16, 2016, Defendant Kincher provided the Whites with a 30-day Notice to Vacate

       for violating the pet policy. Ex. 28 at 6.

    80. While the Notice to Vacate cites other purported violations of the Whites’ lease, during their

       deposition Defendants MHA and Kincher admitted that “the eviction process” was only for

       the Whites’ violations of the pet policy. See Ex. 2 at 461:14-21, 462:13-25.




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    81. On or around August 17, 2016, the Whites provided Defendants with another letter from A.J.

       White’s therapist Catherine Eliasen verifying his disability and disability-related need for

       companion animals. Ex. 35, White Treatment Letters at 2; Ex. 1 at 1.

    82. On August 27, 2016, Lonnie White sent Defendant Kincher an email reattaching copies of

       both of his son’s disability-verification letters, asking that Defendants “[p]lease reconsider

       the eviction.” Ex. 28 at 7; see also Ex. 33 at 3 (CHFA finding that this paperwork was

       sufficient to verify A.J. White’s disability).

    83. On or around August 29, 2016, Defendant Kincher denied the Whites’ reasonable

       accommodation request, stating in pertinent part, “You gave me a letter from your therapist

       but we would need a letter from a medical doctor to consider a diagnosis (per HUD).” Ex.

       28 at 8. While the letter states that the “eviction process” is unrelated to the Whites’ “pets,”

       Defendants MHA and Kincher testified that this statement was not accurate. SMF ¶ 80.

    84. On September 7, 2016, the Whites emailed Defendants another reasonable accommodation

       request, stating, in part, “I am asking you not [to] evict my son and I. We need our home and

       my son needs his animals!” Ex. 28 at 9.

    85. Less than two hours later, Defendant Kincher responded, in pertinent part, “Please be moved

       out on or before the 15th.” Ex. 28 at 9.

    86. Defendants Kincher and MHA later testified that both MHA and the Board would have

       granted the Whites’ reasonable accommodation requests but for their having filed the present

       litigation. Ex. 2 at 220:6-23, 352:6-11, 352:20-24, 353:2-10.




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    Additional Facts Relating to Defendants’ Motive in Denying Plaintiffs’ Requests for
    Reasonable Accommodations & Serving Notices to Vacate

    87. At no time prior to denying Plaintiffs’ requests for reasonable accommodations did

       Defendants ever make a determination as to whether Ms. McFadden or A.J. White were

       disabled. See Ex. 36, MHA’s Responses to Written Discovery at ROG No. 7.

    88. At no time prior to denying Plaintiffs’ requests for reasonable accommodations did

       Defendants take any steps to determine whether the letters provided by Plaintiffs’ healthcare

       professionals in support of their disabilities and disability-related need for assistance animals

       complied with HUD’s documentation requirements. See Ex. 36 at ROG No. 8.

    89. Former MHA Board member Robert Barr testified that Defendants intentionally created

       onerous requirements and then purposefully changed the pet policies to prevent tenants from

       being able to live with assistance animals. See Ex. 18 at 69:8-70:13, 79:4-18, 93:20-94:6,

       97:2-18; Ex. 23 at ¶¶ 27-30, 44-47.

    90. Former MHA Board member Robert Barr testified that evicting Plaintiffs “was discussed as a

       last resort,” explaining that if Plaintiffs “didn’t get rid of [their assistance animals] they were

       going to throw [Plaintiffs] out.” Ex. 18 at 78:22-79:2; see also Ex. 23 at ¶¶ 44, 47.

    Facts Relating to Defendants’ Non-Compliance with Federal Fair Housing Laws

    91. In July 2017, HUD’s Fair Housing and Equal Opportunity Office (“HUD FHEO”) made

       findings that Defendants were in violation of Section 504 of the Rehabilitation Act based, in

       part, on Defendants’ pet policies. See Ex. 37, 2017.07.25 HUD-Kincher Email at 1; Ex. 38,

       2017.09.14 Executed Voluntary Compliance Agreement at 2-5.

    92. In September 2017, Defendants entered into a Voluntary Compliance Agreement with HUD

       FHEO agreeing to “create a Reasonable Accommodation/Modification Policy and

       Procedure” that “do[es] not stipulate that the person verifying the disability and disability


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       related need for the reasonable accommodation/modification must be certified” as well as to

       “develop a comprehensive assistance animal policy” that does not include restrictions based

       on the number of animals or require fees/deposits. Ex. 38 at 4-5; see also Ex. 19 at 38:5-11

       (Buckler testifying that Defendants could not charge a deposit for a companion animal); Ex.

       2 at 202:10-203:6 (Kincher and MHA testifying to the same).

    93. On December 13, 2017, Defendants sent HUD FHEO a proposed Reasonable

       Accommodation policy stating that any licensed health professional could verify a disability

       and that MHA could not request confidential medical records or specific details regarding a

       tenant’s disability to verify the disability. Ex. 39, Applegate-HUD Emails at 8; see also Ex.

       40, McKenzie-Kincher Emails at 1-3 (notifying Defendants that verification of disability

       could come from any reliable third party).

    94. On January 29, 2018, Defendants sent HUD FHEO a proposed Assistance Animal policy

       generally allowing for assistance animals at MHA and stating that no deposits or fees may be

       charged for an assistance animal. Ex. 39 at 13.

    Facts Relating to Defendants’ Unsupported and Retaliatory Counterclaim Against Ms.
    McFadden and Their Unlawful Refusal to Return Ms. McFadden’s Security Deposit

    95. On December 16, 2016, Defendants brought a counterclaim against Ms. McFadden for

       breach of contract, seeking lost rental income and repair costs. Answer to Amended

       Complaint [ECF No. 82] at 28-29.

    96. Defendants have never disclosed a copy of Ms. McFadden’s lease, the purported contract that

       she breached. See Ex. 41, 2017-04-19 Discovery Dispute Chart (McFadden) SJB edits at 1,

       Row 1; see also Ex. 42, Staggs Deposition at 30:23-31:4 (deposition of Plaintiffs’ expert).

    97. Defendants never sent Ms. McFadden a demand for repair charges prior to or after allegedly

       incurring such costs. Ex. 41 at 1, Row 1 (responding to request for a “(2) Copy of written


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       demand for repair charges made upon Ms. McFadden and proof of service” with “(2)

       None”); see also Ex. 2 at 109:16-110:4.

    98. Despite the unit purportedly remaining empty for nearly three months, Defendants collected

       subsidies in Ms. McFadden’s name for the full contract rent of her unit through December

       2016. See Ex. 43, Schedule of Tenant Assistance Payments.

    99. Ms. McFadden paid a $50 security deposit when she moved into Karen Court. See Ex. 44,

       HUD 50059 – McFadden Transfer (listing $50 security deposit on transfer paperwork); Ex.

       25 at 149:8-12.

    100.   Defendants never provided Ms. McFadden with a security deposit disposition, nor have

       they ever returned Ms. McFadden’s security deposit. Ex. 25 at 149:13-15; Ex. 33 at 2

       (CHFA finding that Defendants “should refund the security deposit in full” after failing to

       provide a security deposit disposition “as required”).

    101.   On May 11, 2017, Ms. McFadden gave Defendants notice of her intention to file legal

       proceedings for their failure to repay her security deposit, which she filed eight days later.

       Ex. 45, 2017.05.11 Wolf-Counsel Email (attaching proposed Second Amended Complaint

       with the cause of action included therein); Motion for Leave to Amend [ECF No. 161].

    Facts Relating to Defendants’ Retaliatory Termination of the Whites’ Subsidy, Their
    Unlawful Refusal to Calculate Properly the Whites’ Rental Amount, and Their
    Unsupported Counterclaims Against the Whites

    102.   On April 20, 2017, Defendants terminated the Whites’ housing assistance (subsidy) for

       allegedly failing to undergo their annual recertification. Ex. 28 at 10-11; Ex. 2 at 533:18-21

       (testifying that Defendants terminated the Whites’ subsidy because “[t]hey were not coming

       in to do their recertification. That’s the rules.”); see also id. at 534:15-535:10 (stating that

       the reasons listed in the notice were “part of their recertification”).



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    103.    HUD requires its housing providers to conduct annual recertifications to check for

        changes in a tenant’s income. See Ex. 46, HUD Handbook 4350.3, Chapter 7 § 7-4(A)(1).

    104.    In advance of each annual recertification, HUD requires its housing providers to provide

        three written “reminder” notices to tenants at specified times that must include several key

        pieces of information, including (a) the name of the staff person at the property to contact

        about scheduling a recertification interview, the contact information for this person, and how

        the contact should be made; (b) the location, days, and office hours that property staff will be

        available for recertification interviews; and (c) a list of the information that the tenant should

        bring to the interview. See Ex. 46 at Figure 7-4; id. § 7-7 ¶ B(2).

    105.    Defendants admit that at most, they provided the Whites with only two of the three

        notices required by HUD before the Whites’ February 2017 annual recertification. See Ex.

        47, Gorham-Wolf Correspondence at 1-2; Ex. 2 at 519:12-14.7

    106.    The two notices did not contain the HUD-required information listed above. See Ex. 49,

        Whites’ Annual Recertification Notices – 2016.

    107.    At the time they decided to terminate the Whites’ subsidy, Defendants knew that the

        Whites had not violated their duty to undergo the annual recertification because Defendants

        had not provided “all three recertification reminder notices per HUD requirements.” Ex. 40

        at 5; Ex. 47 at 3-7.

    108.    Defendants never formally rescinded the Notice of Termination nor did they notify the

        Whites of any such rescission. See Ex. 2 at 551:7-8, 551:22-25.




    7
     Plaintiffs dispute that Defendants provided any of the three required notices to the Whites. See Ex. 48,
    2017.03.06 Lonnie White Decl. However, for purposes of this motion Plaintiffs take as true Defendants’
    position that they provided the first two notices but not the third.

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    109.      On September 5, 2017 – and without leave of the Court – Defendants filed two

          counterclaims against the Whites.8 See SAC Answer at 36-39. Defendants alleged, in part,

          that the Whites were liable for breach of contract by failing to abide by the terms of a

          Repayment Agreement. See SAC Answer at 37; see also Ex. 50, Repayment Agreement.

    110.      On May 26, 2017, Defendants MHA and Kincher – along with their consultant Mike

          McKenzie – drafted a Repayment Agreement stating that the Whites owed $3,944 in

          overpaid subsidies to HUD. See Ex. 40 at 9-10; Ex. 51, Kincher Responses to Written

          Discovery at ROG No. 10; Ex. 2 at 556:14-20.

    111.      Defendants admit that the payments purportedly owed under the Repayment Agreement

          are owed to HUD, not to Defendants. Ex. 2 at 556:14-557:5.

    112.      On August 24, 2017, CHFA found that the Whites’ tenant file “does not support validity

          of the repayment agreement” or “charging back-rent.” See Ex. 33 at 3.

    113.      On September 26, 2017, HUD directed Defendants to “[c]ancel the current repayment

          agreement,” which they never did. See Ex. 52, 2017.09.26 HUD-MHA Letter at 1.

    114.      Lastly, Defendants allege that the Whites are liable for failing to make rent payments

          from July 2017 through the date they moved. See SAC Answer at 37-38.

    115.      On June 5, 2017, Defendants recalculated the Whites’ monthly rental payments to $644

          per month, which was thereafter reduced to $636 per month. Ex. 28 at 12, 15.

    116.      In calculating these amounts, Defendants refused to consider the Whites’ $400 annual

          disability deduction or their medical expenses deduction, citing the litigation as the basis for

          their decision. See Ex. 2 at 350:8-14, 351:11-17, 480:5-15, 524:7-15; Ex. 53, 2017.02.01

          Tenant Certification Worksheet at 2; Ex. 51 at RFA No. 8; see also Ex. 40 at 8.



    8
        Plaintiffs’ motion to dismiss these counterclaims is currently pending before this Court. [ECF No. 260].

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    117.   Each month, the Whites tendered their monthly rental payments deducting the $33.33 per

       month for their disability deduction, which Defendants rejected. See Ex. 28 at 13-14, 16-17.

    118.   On September 26, 2017, HUD directed Defendants to “provide a statement to [the

       Whites] with the revised and corrected rent calculation, taking the proper disability

       allowance of $400.00 into account.” Ex. 52 at 1.

    119.   Defendants never provided the Whites with such a letter, and instead sent the Whites a

       security deposit disposition letter demanding three months of back-rent based on the prior,

       unadjusted rent calculations. See Ex. 28 at 18-19.

    120.   Defendants sent this letter more than one month after learning that they had also inflated

       the Whites’ income by $59.10 per month, meaning that Defendants had also been

       overcharging the Whites’ rent regardless of the disability deduction. See Ex. 54, 2017.09.07

       Whites’ EIV Report; see also Ex. 33 at 4 (noting that the rent increase notice was inaccurate

       as it miscalculated the Whites’ income).

    121.   In August 2017, CHFA made findings that “MHA does not appear to be working with the

       [Whites] to remain in the unit pending completion of the litigation.” Ex. 33 at 4.

                                SUMMARY JUDGMENT STANDARD

           Plaintiffs incorporate by reference the summary judgment standard set forth by this Court

    in Olivero v. Trek Bicycle Corp., 291 F. Supp. 3d 1209 (D. Colo. 2017). Plaintiffs would add

    that Defendants cannot survive summary judgment by casting “mere metaphysical doubt” upon

    the evidence. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).

    Further, “[w]hen opposing parties tell two different stories, one of which is blatantly contradicted

    by the record, so that no reasonable jury could believe it, a court should not adopt that version of

    the facts for purposes of ruling on a motion for summary judgment.” Scott v. Harris, 550 U.S.



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    372, 380 (2007). While it is the jury’s duty to weigh credibility, “in the rare circumstance where

    the [non-moving party] relies almost exclusively on his own testimony, much of which is

    contradictory and incomplete, it will be impossible for a district court to determine whether the

    jury could reasonably find for the [non-moving party], and thus whether there are any ‘genuine’

    issues of material fact, without making some assessment of the [non-moving party]’s account.”

    Jeffreys v. City of N.Y., 426 F.3d 549, 554 (2d Cir. 2005). Yet “it remains the ‘affirmative

    obligation of the trial judge to prevent factually unsupported claims and defenses from

    proceeding to trial.’” Giuffre v. Marys Lake Lodge, LLC, No. 11-CV-00028-PAB-KLM, 2012

    WL 4478806, at *4 (D. Colo. Sept. 28, 2012) (citations omitted).

            FAIR HOUSING ACT & REHABILITATION ACT LEGAL STANDARDS

            Courts use the same or substantially similar standards of analysis when reviewing

    disability discrimination claims brought under the Fair Housing Act (“FHA”) and § 504 of the

    Rehabilitation Act (“§ 504”).9 See generally Cinnamon Hills Youth Crisis Ctr., Inc. v. Saint

    George City, 685 F.3d 917 (10th Cir. 2012); see also Roe v. Hous. Auth. of City of Boulder, 909

    F. Supp. 814, 821 (D. Colo. 1995) (“[B]ased on the explicit intent of Congress and the similar

    goals of the ADA, the Rehab[ilitation] Act and the FHAA, I will analyze [the] claims together.”).

            The FHA applies to all buildings that include dwellings occupied as, or designed or

    intended for, residences. 42 U.S.C. § 3602(b). Section 504 extends to a “program or activity”

    receiving federal financial assistance, which it defines as an instrumentality of a State or local

    government or “an entire corporation, partnership, or other private organization, or an entire sole

    proprietorship . . . (ii) which is principally engaged in the business of providing . . . housing . . .

    .” 29 U.S.C. § 794(b). Because Defendant MHA receives federal assistance through HUD and


    9
      The FHA, as amended, is sometimes abbreviated as the FHAA. Plaintiffs refer to it as the FHA
    throughout.

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    runs a building occupied as residences, it can be held liable under both the FHA and § 504. See

    Statement of Material Facts (“SMF”) ¶¶ 1-4.

              Directors and officers of a housing provider who assist in the discriminatory conduct at

    issue are individually liable for violations of the FHA.10 See, e.g., Chavez v. Aber, 122 F. Supp.

    3d 581, 593 (W.D. Tex. 2015) (observing that “courts across the country have routinely imposed

    individual liability for discriminatory actions under the FHA”); Fielder v. Sterling Park

    Homeowners Ass’n, 914 F. Supp. 2d 1222, 1227-28 (W.D. Wash. 2012) (holding that “directors

    who participate in, authorize, or ratify the commission of a civil rights or fair housing tort may

    be held individually liable” and collecting cases); United States v. Tropic Seas, Inc., 887 F. Supp.

    1347, 1365 (D. Haw. 1995) (“Because the duty to comply with the Fair Housing Act is

    nondelegable, a corporation’s officers and directors may be held individually liable for their

    failure to ensure the corporation’s compliance. This is so even where the individual director or

    officer . . . did not subjectively intend to discriminate against the complainant.”).

                                                 ANALYSIS

         I.      Defendants Discriminated Against Plaintiffs in Violation of the FHA and the
                 Rehabilitation Act

              Under the FHA, it is unlawful to “discriminate against any person in the terms,

    conditions, or privileges of sale or rental of a dwelling, or in the provision of services or facilities

    in connection with such dwelling, because of a handicap of [that person].” 42 U.S.C. §

    3604(f)(2)(A); see also 29 U.S.C. § 794 (making it unlawful under § 504 for programs receiving

    federal funding to subject disabled individuals to discrimination under any such program).

    Prohibited discrimination expressly includes “a refusal to make reasonable accommodations in


    10
      While the FHA provides for individual liability, there appears to be an open question in the Tenth
    Circuit about whether § 504 of the Rehabilitation Act extends to individuals. In an abundance of caution,
    Plaintiffs are seeking summary judgment on Claims 4, 5, and 9 solely against Defendant MHA.

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    rules, policies, practices, or services, when such accommodations may be necessary to

    afford such person equal opportunity to use and enjoy a dwelling.” 42 U.S.C. § 3604(f)(3)(B);

    see also Tesh v. U.S. Postal Serv., 349 F.3d 1270, 1275 (10th Cir. 2003) (Rehabilitation Act). A

    plaintiff can also establish a violation of these antidiscrimination provisions by showing

    intentional discrimination or discriminatory impact. See Cinnamon Hills, 685 F.3d at 919; Roe,

    909 F. Supp. at 820 (citations omitted).

       A. Defendants Engaged in Disability Discrimination by Refusing to Engage in the
          Interactive Process

           A housing provider is “required to engage in an interactive process to determine whether

    or not” a tenant requesting reasonable accommodations is disabled. Book v. Hunter, No. 1:12-

    CV-00404-CL, 2013 WL 1193865, at *4 (D. Or. Mar. 21, 2013). When a housing provider

    denies a reasonable accommodation request without engaging in such a process, it has per se

    violated the fair housing laws. See id. In Book, a tenant seeking to live with an emotional

    support animal was denied housing after she presented a letter from her medical doctor verifying

    her disability and disability-related need for the companion animal. Id. The housing provider

    rejected the rental application on the grounds that it did not allow pets. Id. at *1. By not

    independently determining whether the tenant was indeed disabled, the housing provider acted

    unlawfully because “under the FHA they were required to engage in an interactive process to

    determine whether or not that was the case.” Id. at *4. Here, Defendants admit that they never

    made a determination about whether Ms. McFadden or A.J. White were disabled, nor did they

    take any steps to determine whether the letters verifying Plaintiffs’ disabilities and disability-

    related need for assistance animals complied with HUD’s documentation requirements. See

    SMF ¶¶ 87-88. In failing to take part in the interactive process, Defendants engaged in a per se

    violation of the FHA and § 504.


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         B. Defendants Engaged in Disability Discrimination by Unreasonably Denying
            Plaintiffs Reasonable Accommodation Requests

            The law “imposes an affirmative duty upon landlords reasonably to accommodate the

    needs of handicapped persons.” 11 United States v. California Mobile Home Park Mgmt. Co., 29

    F.3d 1413, 1416 (9th Cir. 1994). To prevail on a reasonable accommodation claim, a plaintiff

    must establish “(1) that the plaintiff or his associate is handicapped [under the law]; (2) that the

    defendant knew or reasonably should have known of the claimed handicap; (3) that

    accommodation of the handicap may be necessary to afford the handicapped person an equal

    opportunity to use and enjoy the dwelling; (4) that the accommodation is reasonable; and (5) that

    defendants refused to make such accommodation.” Arnal v. Aspen View Condo. Ass’n, Inc., 226

    F. Supp. 3d 1177, 1183 (D. Colo. 2016)).12 There is no genuine dispute that the record evidence

    establishes each of these elements.

            1. Plaintiffs A.J. White and Ms. McFadden Are Disabled Under the Pertinent Statutes

            An individual with a disability is a person having: (A) a physical or mental impairment

    that substantially limits one or more major life activities; (B) a record of such an impairment; or

    (C) being regarded as having such an impairment. See 42 U.S.C. § 12102; 42 U.S.C. § 3602(h).

    The definition of “major life activities” includes “caring for oneself, . . . sleeping, . . . learning,

    reading, concentrating, thinking, communicating, and working.” See 42 U.S.C. § 12102(2)(A).

            “The FHA is broad and inclusive in protecting against conduct which interferes with fair

    housing rights and is subject to generous construction.” Matarese v. Archstone Pentagon City,


    11
       The FHA uses the term “handicap” instead of “disability.” Disability is the preferred term. See
    Bhogaita v. Altamonte Heights Condo. Ass’n, Inc., 765 F.3d 1277, 1285 n.2 (11th Cir. 2014).
    12
       Under the Rehabilitation Act, an individual must also show that he is “otherwise qualified” to
    participate in the program and that the program receives federal financial assistance. See Robinson v.
    Kansas, 117 F. Supp. 2d 1124, 1144 (D. Kan. 2000), aff’d, 295 F.3d 1183 (10th Cir. 2002). There is no
    dispute that MHA receives federal financial assistance and that Plaintiffs were otherwise qualified to be
    tenants of MHA considering the successful processing of their rental applications. See SMF ¶¶ 3-4, 9.

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    795 F. Supp. 2d 402, 430 (E.D. Va. 2011), vacated in part on other grounds, 468 F. App’x 283

    (4th Cir. 2012). This broad coverage is evidenced by the statute itself, which provides that

    individuals need not prove they suffer from a disability, but may establish disabled status

    through a record of disability or being regarded as disabled. Here, there is no dispute that

    Plaintiffs satisfy the definition of disabled because they have extensive records of impairments

    that substantially limit one or more major life activities. See SMF ¶¶ 11-45. Furthermore, MHA

    Defendants have admitted that they consider Plaintiffs to be disabled, establishing “regarded as”

    disability. See SMF ¶¶ 61, 65, 86. Although Lonnie White is not himself disabled, his claims

    against Defendants are viable under both the FHA and the Rehabilitation Act because he is a

    person associated with an individual with a disability (his son) and because the discrimination

    experienced by his son directly injured him. See SMF ¶ 10; 42 U.S.C. § 3604(f)(2); Arnal, 226

    F. Supp. 3d at 1183; Barber v. Colorado Dep’t of Revenue, No. 05CV00807-REB-CBS, 2006

    WL 469021, at *2 (D. Colo. Jan. 4, 2006).

           a. Ms. McFadden and A.J. White Have a Record of a Disability

           Ms. McFadden and A.J. White have extensive records of their disabilities. To have a

    sufficient record of impairment, a plaintiff “must have a history of, or have been misclassified as

    having, an impairment that has substantially limited a major life activity.” Rakity v. Dillon

    Companies, Inc., 302 F.3d 1152, 1159 (10th Cir. 2002) (citing Sorensen v. Univ. of Utah Hosp.,

    194 F.3d 1084, 1087 (10th Cir. 1999)); see also 29 C.F.R. § 1630.2(k). Ms. McFadden has

    produced over 200 pages of treatment records from at least five different providers establishing

    that she has been suffering from chronic dysthymic disorder, major depressive disorder, PTSD,

    and anxiety since at least January 2014. See SMF ¶¶ 11-21. During the time she lived at MHA,

    Ms. McFadden reported having panic attacks, experiencing a loss of pleasure, trouble sleeping,



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    difficulty concentrating, and “occasional thought[s] she would be better off dead,” all of which

    made it “‘very difficult’ for her to function.” See SMF ¶ 14. As the summer of 2016

    approached, Ms. McFadden reported suicidal ideations as well as difficulty controlling her

    anxiety even on prescription medications. See SMF ¶¶ 16-17. Ms. McFadden experiences

    approximately four to five panic attacks per month, some of which have led to emergency room

    visits. See SMF ¶ 21. As the records establish, Ms. McFadden has consistently been prescribed

    medications to help her manage her mental health impairments, including Paroxetine (Paxil),

    Latuda, Lorazepam, Fluoxetine (Prozac), and Wellbutrin. See SMF ¶ 12.

           A.J. White has produced nearly 400 pages of health treatment records establishing that he

    has been suffering from cyclothymic disorder, dysthymic disorder, major depressive disorder,

    anxiety, and ADHD since childhood. See SMF ¶¶ 25-36, 41-44. Indeed, A.J. White’s mental

    health disabilities are so severe that he began treatment for them when he was only ten years old

    after being hospitalized for suicidal ideation. See SMF ¶¶ 26-27. Upon moving to Meeker,

    Colorado at the age of 17, A.J. White continued to report that “he often thinks about suicide . . .

    to escape,” showing an “extremely high measurement of depression and anxiety.” SMF ¶¶ 30,

    32. Over the last ten years, A.J. White has been prescribed Zoloft, Sertraline, Vyvanse,

    Adderall, Celexa, Concerta, Strattera, Wellburtin, Trazodone, Abilify, Fluoxetine (Prozac),

    Lexipro, and Imipramine. See SMF ¶ 28. A.J. White found the side effects of his medications

    often worsened his conditions. See SMF ¶ 29. After discovering that his companion animals

    were more effective than the medications, A.J. White began exclusively using his cats to manage

    the symptoms of his disabilities. See SMF ¶ 40.

           Courts routinely find that complainants with similar mental health disorders as those

    suffered by Plaintiffs are disabled under the relevant statutes. See, e.g., Battle v. United Parcel



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    Serv., Inc., 438 F.3d 856, 861-62 (8th Cir. 2006) (depression); Doe v. Region 13 Mental Health-

    Mental Retardation Comm’n, 704 F.2d 1402, 1406-08 (5th Cir. 1983) (anxiety, insomnia, and

    depression); Wilson v. Alamosa Sch. Dist., No. 06-cv-00607-WDM-CBS, 2009 WL 2139776, at

    *4 (D. Colo. July 15, 2009) (anxiety and stress); Braswell v. Bd. of Educ. of Prince George’s

    Cty., No. 12-CV-02434-AW, 2012 WL 5511005, at *1 (D. Md. Nov. 13, 2012) (ADHD). As

    federal regulations proclaim, “it should easily be concluded” that major depressive disorder

    “substantially limit[s] the major life activities.” 29 C.F.R. § 1630.2(j)(3)(iii).

           Furthermore, through June 2016 A.J. White had been consistently diagnosed with a

    “serious emotional disability” in his Individualized Education Plan (“IEP”), documents that

    Defendants insisted were relevant to determining whether A.J. White was disabled. See SMF ¶

    44; Defendants’ Response to Discovery Motions [ECF No. 103] at 21-22. Individuals found to

    be disabled under an IEP are generally considered disabled under the Rehabilitation Act. See

    Kimble v. Douglas Cty. Sch. Dist. RE-1, 925 F. Supp. 2d 1176, 1181 (D. Colo. 2013) (Martinez,

    J.) (holding that Section 504 has a wider scope than the Individuals with Disabilities Education

    Act (“IDEA”) such that students eligible for IDEA protection – including placement on IEPs –

    are a subset of those eligible for protection under Section 504).

           Both the state and federal government have also determined that A.J. White is disabled.

    A.J. White collected Supplemental Security Income (“SSI”) as a minor, which ended soon after

    he moved to Meeker and turned 18. See SMF ¶ 42. To collect SSI, A.J. White had to show that

    he had a mental condition that “very seriously” limited his activities and which had lasted or

    would be expected to last at least one year. Child Disability Starter Kit, SOCIAL SECURITY,

    https://www.ssa.gov/disability/disability_starter_kits_child_factsheet.htm#disability. A.J. White

    was also diagnosed with a “most significant disability” by the Colorado Division of Vocational



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    Rehabilitation in May 2014, which determined that he was eligible for job placement assistance,

    job training, vocational counseling, and more. See SMF ¶ 43.

            Based on these substantial records of impairment, there is no genuine dispute that either

    Ms. McFadden or A.J. White are disabled for purposes of the FHA or Rehabilitation Act.

            b. Defendants Regard Ms. McFadden and A.J. White as Disabled

            Defendants cannot genuinely contend that Plaintiffs’ disabilities are in dispute because

    they have admitted as much. Defendants have repeatedly insisted that they granted Ms.

    McFadden’s reasonable accommodation request on July 26, 2016.13 SMF ¶ 61; see also SMF ¶

    65 (Defendants admitting that the verification letter from Ms. McFadden’s doctor was sufficient

    to establish that she was disabled). And during their deposition, Defendants MHA and Kincher

    testified that Defendants would have approved the Whites’ reasonable accommodation requests

    had this litigation not been initiated. SMF ¶ 86. A reasonable accommodation request cannot be

    approved without an implicit finding that the individual making the request is disabled. See

    Arnal v. Aspen View Condo. Ass’n, Inc., No. 15-CV-1044-WYD-MJW, 2016 WL 775693, at *3

    (D. Colo. Feb. 29, 2016) (“To show that a requested accommodation may be necessary, there

    must be an identifiable relationship, or nexus, between the requested accommodation and the

    individual’s disability.” (quotation marks, alterations omitted)); see also SMF ¶ 61 (Defendant

    George testifying that a non-disabled person would not need a reasonable accommodation).

            Defendants also cannot contend that Plaintiffs’ disabilities are genuinely in dispute

    considering that they regard Plaintiffs as disabled. A plaintiff alleging disability discrimination

    based on the “regarded as” theory must show that “(1) he has an actual or perceived impairment,



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      While the request may have been approved, the conditions attached to the approval – including the
    provision of a $300 fee and a requirement that Ms. McFadden obtain a letter in support from a licensed
    psychiatrist – were unlawful and gave rise to the present lawsuit.

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    (2) that impairment is neither transitory nor minor, and (3) the [landlord] was aware of and

    therefore perceived the impairment at the time of the alleged discriminatory action.” Adair v.

    City of Muskogee, 823 F.3d 1297, 1306 (10th Cir. 2016). Defendants at a minimum perceived

    Plaintiffs as having impairments neither transitory nor minor, as evidenced by their position that

    they did grant or would have granted Plaintiffs’ requests to live indefinitely with assistance

    animals. And Defendants were aware of the impairments at the time of the discriminatory

    conduct, as the conduct arose from the requests for accommodation.

           c. Plaintiffs Provided Sufficient Documentation of Their Disabilities

           There is no genuine dispute that Plaintiffs provided sufficient documentation of their

    disabilities pursuant to HUD guidelines. See Ex. 55, 2013.04.25 HUD FHEO Notice: Service

    Animals and Assistance Animals for People with Disabilities in Housing and HUD-Funded

    Programs at 3-4 (explaining that a social worker or other mental health professional may verify a

    tenant’s disability and disability-related need for an emotional support animal); see also SMF ¶¶

    82, 93. Because Defendants recognize their duty to follow all HUD regulations and guidelines,

    there should be no further inquiry as to whether Plaintiffs are disabled for purposes of proving

    that they were entitled to the reasonable accommodations at MHA. See SMF ¶¶ 7-8.

           2. Defendants Had Sufficient Notice that A.J. White and Ms. McFadden Were Disabled

           At the time of their unlawful conduct, Defendants had been repeatedly put on notice of

    Plaintiffs’ disabilities through Plaintiffs’ many requests for reasonable accommodations and the

    provision of letters from their treatment providers in support thereof. See generally SMF ¶¶ 56-

    86; Castellano v. Access Premier Realty, Inc., 181 F. Supp. 3d 798, 806 (E.D. Cal. 2016)

    (finding letters from tenant, tenant’s daughter, and medical treatment provider stating that tenant

    was disabled and seeking an accommodation put housing provider on notice of tenant’s



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    disabilities); Arnal, 226 F. Supp. 3d at 1184-85 (same); Smith v. Powdrill, No. CV 12-06388

    DDP RZX, 2013 WL 5786586, at *6 (C.D. Cal. Oct. 28, 2013) (finding Plaintiffs’ statements

    and accompanying letter from treatment provider sufficient to put housing provider on notice of

    tenant’s disability). Further, as former Board member Robert Barr testified, A.J. White’s

    disabilities are observable and readily apparent upon meeting him. SMF ¶ 45.

           3. Reasonable Accommodations Were Necessary to Afford Plaintiffs an Equal
              Opportunity to Use and Enjoy Their Dwellings

           There is no dispute that reasonable accommodations were necessary to afford Plaintiffs

    an equal opportunity to use and enjoy their dwellings. “An accommodation is necessary when

    there is evidence showing that the desired accommodation will affirmatively enhance a disabled

    plaintiff’s quality of life by ameliorating the effects of the disability.” Arnal, 226 F. Supp. 3d at

    1185; see also Bronk v. Ineichen, 54 F.3d 425, 429 (7th Cir. 1995). The uncontroverted evidence

    establishes that Plaintiffs’ companion animals affirmatively enhanced their quality of life by

    ameliorating the effects of their disabilities. See SMF ¶¶ 22-24, 34-40; Castellano, 181 F. Supp.

    3d at 807 (finding “no triable issue of fact as to whether accommodation was necessary” where

    evidence showed that the emotional support animal “made [the plaintiff] feel better, both

    mentally and physically, and helped her to get through the day”).

           4. Plaintiffs’ Requested Accommodations Were Reasonable

           “An accommodation is reasonable under the FHA when it imposes no fundamental

    alteration in the nature of the program or undue financial or administrative burdens.” Arnal, 226

    F. Supp. 3d at 1185–86. Courts regularly hold that exempting a tenant from a no-pet policy

    constitutes a reasonable accommodation “because such an accommodation does not unduly

    burden or fundamentally alter the nature of the apartment complex.” Bryant Woods Inn, Inc. v.




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    Howard Cnty., Md., 124 F.3d 597, 604 (4th Cir. 1997) (citation omitted); see also Bronk, 54 F.3d

    at 429; Green v. Hous. Auth. of Clackamas Cnty., 994 F. Supp. 1253, 1257 (D. Or. 1998).

           HUD has made it clear that exceptions to no-pet policies must typically be made to

    permit assistance animals, which includes emotional support animals, to reside with their

    owners. See 24 C.F.R. § 100.204; Ex. 55 at 3; Ex. 56, 2004.05.17 HUD-DOJ Joint Statement:

    Reasonable Accommodations under the FHA at 6-7; see also Meyer v. Holley, 537 U.S. 280, 287

    (2003) (holding that HUD’s interpretation of the FHA is entitled to Chevron deference); Pfaff v.

    U.S. Dep’t of Hous. & Urban Dev., 88 F.3d 739, 747 (9th Cir. 1996) (same).

           In addition to the per se reasonableness of Plaintiffs’ accommodation requests, it should

    be emphasized that Plaintiffs were merely seeking to maintain the status quo. Defendants had

    allowed Plaintiffs to keep their companion animals in their units prior to June 2016, with the

    Whites having their cats for nearly two and a half years at that time. SMF ¶ 48. What is more,

    Defendants insist that they would have allowed Plaintiffs to live at Karen Court with their

    assistance animals so long as they provided sufficient documentation from a licensed psychiatrist

    and paid a deposit. See SMF ¶¶ 60, 64. Defendants have since sent HUD FHEO proposed

    policies that would allow for tenants to live with assistance animals without paying a fee or

    deposit if their disabilities are verified by a licensed professional. See SMF ¶¶ 93-94. These

    facts “are strong evidence that providing [Plaintiffs] with an exception to the ‘no-pet’ policy

    would impose no fundamental alteration of Defendants’ housing services nor pose undue

    financial or administrative burdens.” Castellano, 181 F. Supp. 3d at 807.

           5. Defendants Unreasonably Refused to Accommodate Plaintiffs

           It cannot be genuinely disputed that Defendants unreasonably denied Plaintiffs’ repeated

    requests for accommodations. “A housing provider’s duty reasonably to accommodate a person



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    with a disability arises when the provider becomes aware of the person’s disability and the

    disabled person makes a request for a reasonable accommodation.” Boulder Meadows v. Saville,

    2 P.3d 131, 137 (Colo. App. 2000) (citing Jankowski Lee & Assoc. v. Cisneros, 91 F.3d 891 (7th

    Cir. 1996)). “Once allowed [an] opportunity [to conduct a meaningful review of the request], a

    violation occurs when the disabled resident is first denied a reasonable accommodation,

    irrespective of the remedies granted in subsequent proceedings.” Arnal, 226 F. Supp. 3d at 1186.

            Plaintiffs repeatedly requested reasonable accommodations to allow them to continue

    living at MHA with their companion animals. See generally SMF ¶¶ 56-86. Each time,

    Defendants unreasonably denied the requests, insisting that Plaintiffs pay a $300 fee per animal,

    which they now admit was unlawful. See generally id. Defendants also refused to accept

    verification letters from Plaintiffs’ therapists, first requiring that Plaintiffs obtain letters from

    medical doctors and then changing the requirement once Ms. McFadden secured that

    documentation. See SMF ¶¶ 49, 59-60, 64, 83.14 Defendants later admitted that Ms.

    McFadden’s letter from her medical doctor was sufficient to establish her disabilities, despite the

    immediate change to the pet policy. See SMF ¶ 65. These acts constitute evidence that

    Defendants’ repeated denials were unreasonable. Cf. Sanders v. SWS Hilltop, LLC, No. 6:17-

    CV-00256-MC, 2018 WL 934608, at *5 (D. Or. Feb. 16, 2018) (explaining that, amongst other

    behavior, inflating the deposit and refusing to replace a filthy carpet for a rental applicant who

    asked to live with an assistance animal “falls comfortably within the scope of” conduct

    prohibited under the FHA).




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      Notably, Defendants never insisted that the Whites obtain a letter from a psychiatrist. Instead,
    Defendants directed the Whites to obtain a letter from a medical doctor on August 29, 2016, more than
    one month after rejecting the same from Ms. McFadden. See SMF ¶¶ 60, 63, 83.

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           As a result of Defendants’ unreasonable denials, Ms. McFadden was evicted. See SMF ¶

    72. The Whites were spared only because of this Court’s injunction; accordingly, they were

    forced to reside with A.J. White’s assistance animals in a state of legal limbo. See [ECF No. 15].

    That uncertainty, coupled with Defendants’ retaliatory conduct discussed below, has caused the

    Whites both economic loss and emotional distress.

       C. Defendants Engaged in Disability Discrimination by Demanding that Plaintiffs Pay
          a $300 Non-Refundable Pet “Deposit” to Keep Their Assistance Animals

           Defendants also discriminated against Plaintiffs in the terms, conditions, or privileges of

    rental of a dwelling by demanding that they each pay a $300.00 non-refundable “deposit” (fee)

    per companion animal. SMF ¶¶ 50, 54, 60, 64, 74. Under the FHA, “[h]ousing providers may

    not require persons with disabilities to pay extra fees or deposits as a condition of receiving a

    reasonable accommodation.” Ex 56 at 4 (“A request for a reasonable accommodation may not

    be unreasonably denied, or conditioned on payment of a fee or deposit or other terms and

    conditions applied to applicants or residents with pets . . . .”). Beyond the Chevron deference

    owed to HUD’s interpretation of the FHA, “a plain reading of § 3604(f)(3)(B) suggests that

    imposing an additional security deposit for a service animal made necessary by a tenant’s

    handicap is discriminatory. Requiring such a deposit constitutes a failure to provide the

    reasonable accommodation of waiving a general pet deposit or no-pet policy.” Intermountain

    Fair Hous. Council v. CVE Falls Park, L.L.C., No. 2:10-CV-00346-BLW, 2011 WL 2945824, at

    *6 (D. Idaho July 20, 2011). As noted above, Defendants have since conceded that their

    demands for a deposit were impermissibly made. See SMF ¶ 92.

           Based on the arguments raised under Part I, Plaintiffs seek summary judgment on Claims

    1 and 4 of their Second Amended Complaint [ECF No. 237]. See Castellano, 181 F. Supp. 3d at

    809 (granting summary judgment on substantially similar facts).


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       II.      Defendants Interfered with Plaintiffs’ Right to Live Free of Disability
                Discrimination

             The FHA prohibits unlawfully coercing, intimidating, threatening, or interfering with any

    person in the exercise or enjoyment of, or on account of his having exercised or enjoyed, any

    right granted or protected by the FHA. 42 U.S.C. § 3617. “The Supreme Court has instructed

    that we are to treat the language of the FHA as broad and inclusive.” Walker v. City of

    Lakewood, 272 F.3d 1114, 1129 (9th Cir. 2001) (quoting Trafficante v. Metropolitan Life Ins.

    Co., 409 U.S. 205, 209 (1972)) (internal quotation marks and alterations omitted). “Interference,

    in particular, has been broadly applied to reach all practices which have the effect of interfering

    with the exercise of rights under the federal fair housing laws.” Smith, 2013 WL 5786586 at *9

    (quoting Walker, 272 F.3d at 1129) (quotation marks and alterations omitted). “Interference is

    the act of meddling in or hampering an activity or process.” Castellano, 181 F. Supp. 3d at 809.

             Defendants meddled in or hampered Plaintiffs’ ability to secure reasonable

    accommodations in many ways. Immediately after changing the MHA no-pet policy unlawfully

    to require verification of disability from a medical doctor, Defendants contacted Plaintiffs’

    doctors and directed them not to supply such letters. SMF ¶ 51. Once Ms. McFadden was able

    to obtain a letter from a medical doctor outside of Meeker, Defendants moved the goal posts,

    changing their policy to require a letter from a psychiatrist. SMF ¶¶ 59-60, 64. Similarly, just

    six days after Defendants learned that the Whites were seeking an accommodation for two

    companion animals, Defendants quickly changed their policy to limit the number of companion

    animals to one per unit. SMF ¶ 76. While implementing rapid fire changes to the pet policy

    directly responsive to Plaintiffs’ accommodation requests, Defendants simultaneously began

    serving Plaintiffs Notices of Violations and Infractions, Notices to Vacate, and threats of




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    eviction. See generally SMF ¶¶ 63, 67, 69, 75, 77-79, 83, 85. Defendants MHA and Kincher

    went so far as to tell Ms. McFadden to “take us to court.” SMF ¶ 58.

              Upon the commencement of such litigation, Defendants escalated their efforts to interfere

    with Plaintiffs’ exercise of their rights. For example, in April 2017 Defendants terminated the

    Whites’ housing subsidy despite the Whites’ ongoing compliance with HUD regulations and

    guidelines. See SMF ¶¶ 102-108. Defendants then inflated the Whites’ monthly rental payments

    by refusing to make gross income deductions required by HUD, admitting that they refused to do

    so because of the pending litigation. See SMF ¶¶ 116-117, 120. HUD ordered Defendants to

    adjust the Whites’ rent, to no avail. See SMF ¶¶ 118-119. Indeed, in a document disclosed to

    Plaintiffs long after the close of discovery, Plaintiffs learned that Defendants had been aware

    since September 7, 2017 that they had miscalculated the Whites’ income and were over-charging

    their rent irrespective of the disputed disability deduction. See SMF ¶ 120. And still,

    Defendants have never corrected the overcharges on the Whites’ rent. See SMF ¶ 119.

              Responding to a request for reasonable accommodations by serving Notices of Violations

    and Infractions and Notices to Vacate constitutes interference because it “would give a person in

    [Plaintiff’s] position pause in seeking to enforce her right to obtain a reasonable accommodation

    for her handicap.” Castellano, 181 F. Supp. 3d at 809; see also Smith, 2013 WL 5786586 at *10.

    The same is true for the other conduct engaged in by Defendants. Based on the arguments raised

    under Part II, Plaintiffs seek summary judgment on Claims 3 and 8 of their Second Amended

    Complaint [ECF No. 237].15




    15
         At this time, only the Whites seek a finding of summary judgment in their favor on Claim 8.

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       III.      Defendants Retaliated Against Plaintiffs for Opposing Defendants’
                 Discriminatory Practices

              The FHA and § 504 prohibit retaliation against those who assert their right to live free

    from disability discrimination. See 42 U.S.C. § 3617; Hwang v. Kansas State Univ., 753 F.3d

    1159, 1165 (10th Cir. 2014). Retaliation claims brought under these laws are analyzed under the

    same standards used for analyzing retaliation claims brought pursuant to Title VII. See Oxford

    House, Inc. v. City of Baton Rouge, La., 932 F. Supp. 2d 683, 700 (M.D. La. 2013).

              To establish a prima facie case of retaliation, a plaintiff must show that (1) they engaged

    in protected opposition to discrimination, (2) the defendants took adverse action against them,

    and (3) a causal connection existed between the protected activity and the adverse action. See,

    e.g., Kendrick v. Penske Transp. Servs., Inc., 220 F.3d 1220, 1234 (10th Cir. 2000); Reinhardt v.

    Albuquerque Pub. Sch. Bd. of Educ., 595 F.3d 1126, 1131 (10th Cir. 2010). Requesting a

    reasonable accommodation to keep an assistance animal is a protected activity. See, e.g.,

    Chavez, 122 F. Supp. 3d at 600.

              There is no genuine dispute that Defendants retaliated against Plaintiffs for engaging in

    protected activities. Plaintiffs engaged in protected conduct when they repeatedly requested

    reasonable accommodations during the summer of 2016. In response thereto, Defendants took

    adverse actions against Plaintiffs, including evicting Ms. McFadden and threatening to evict the

    Whites on numerous occasions. See Boisclair Corp., 351 F.3d 361, 363-64 (8th Cir. 2003) (per

    curiam) (holding that threats of eviction – even if never carried out – constitute adverse action).

              Plaintiffs can also establish a causal connection between their protected activity and the

    adverse actions by way of close temporal proximity. The Tenth Circuit has “held that a one and

    one-half month period between protected activity and adverse action may, by itself, establish

    causation.” Anderson v. Coors Brewing Co., 181 F.3d 1171, 1179 (10th Cir. 1999) (citation


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    omitted); see also Meiners v. Univ. of Kan., 359 F.3d 1222, 1231 (10th Cir. 2004) (same). As

    discussed above, Defendants’ Notices of Violations and Infractions and their Notices to Vacate

    came just days after Plaintiffs requested reasonable accommodations. See SMF ¶¶ 63, 73, 75,

    77-79. Defendants also immediately changed their pet policy to make it more onerous after

    Plaintiffs were able to comply with the earlier policy’s terms. See SMF ¶¶ 59, 64. When

    Plaintiffs continued to assert their rights, Defendants threatened eviction. SMF ¶¶ 67, 69, 80, 82-

    85. Defendants intentionally engaged in this conduct to prevent Plaintiffs from living at MHA

    with their assistance animals, regardless of their disability-related needs. See SMF ¶¶ 89-90.

              After Plaintiffs brought this lawsuit, Defendants terminated the Whites’ housing

    assistance allegedly because the Whites failed to undergo their annual recertification. SMF ¶

    102. Yet, Defendants had long known that they had failed to provide timely or compliant annual

    recertification notices such that the Whites could not be penalized for missing the annual

    recertification deadline. SMF ¶¶ 103-107. Not only have Defendants never formally rescinded

    this notice, but after finally processing the Whites’ recertification, Defendants intentionally

    inflated the Whites’ rental amount because of this litigation. SMF ¶¶ 108, 115-116, 120. CHFA

    even found that “MHA does not appear to be working with the [Whites] to remain in the unit

    pending completion of the litigation.” SMF ¶ 121. “Threats and intimidation after plaintiff filed

    a complaint of housing discrimination is direct evidence of retaliation in violation of the FHA.”

    Chavez, 122 F. Supp. 3d at 600 (internal quotation marks and citation omitted).

              Based on the arguments raised under Part III, Plaintiffs seek summary judgment on

    Claims 2, 5, 7, and 9 of their Second Amended Complaint [ECF No. 237].16 Cf. Matarese, 795

    F. Supp. 2d at 442-43 (entering judgment for Plaintiffs on retaliation claim where Defendants



    16
         At this time, only the Whites seek a finding of summary judgment in their favor on Claims 7 and 9.

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    refused to renew Plaintiff’s lease, increased Plaintiffs’ month-to-month rent, and refused to

    consider Plaintiff’s rental application to another Defendant-owned apartment complex in

    response to requests for accommodations and the filing of fair housing complaints and litigation).

       IV.      Defendants Unlawfully Withheld Ms. McFadden’s Security Deposit

             Colorado law provides that a landlord must return a tenant’s security deposit within one

    month of the surrender and acceptance of the premises unless the tenant is provided with a

    written statement listing the exact reasons for the retention of any portion of the security deposit.

    C.R.S. § 38-12-103(1). Ms. McFadden paid a $50 security deposit when she first became a

    tenant of Meeker Housing Authority. SMF ¶ 99. This security deposit has never been returned

    to Ms. McFadden, nor have Defendants ever sent Ms. McFadden a written statement listing any

    basis for the retention of her security deposit. SMF ¶ 100. Ms. McFadden gave Defendants

    notice of her intention to file legal proceedings eight days before filing such an action, and

    Defendants again failed to return her security deposit. SMF ¶ 101.

       V.       Ms. McFadden is Entitled to Summary Judgment on the Counterclaim Brought
                Against Her by Defendants

             The counterclaim brought against Ms. McFadden is factually and legally unsupported.

    Specifically, Defendants have filed a breach of contract claim against Ms. McFadden contending

    that she breached the terms of her lease by damaging her housing unit and failing to pay the

    repair costs. See SAC Answer at 34-36. Defendants also contend that Ms. McFadden owes rent

    for the three months in which the unit was “uninhabitable.” See id.

             Defendants have filed a breach of contract claim against Ms. McFadden but have never

    produced to Plaintiffs a copy of Ms. McFadden’s lease. SMF ¶¶ 95-96. Defendants have

    informed Plaintiffs that they need not produce a copy of Ms. McFadden’s lease because she

    would have signed a HUD Model Lease. Presuming this to be true, Defendants’ claims for


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    repair costs are barred by the lease terms themselves. Specifically, the provisions quoted by

    Defendants state that a tenant must pay repair costs “within 30 days after receipt of the

    Landlord’s demand for the repair charges.” SAC Answer at 35. Defendants never sent Ms.

    McFadden a demand for repair charges and thus are barred from pursuing this claim. SMF ¶ 97.

             Defendants also cannot recover their purported loss of rental income as there is no

    evidence that Defendants suffered any loss. Evidence obtained through forensic imaging

    establishes that MHA was unlawfully submitting claims for subsidy payments in Ms.

    McFadden’s name through December 2016, the three months the unit remained unoccupied.

    SMF ¶ 98. Because Ms. McFadden was receiving a full subsidy on her unit, these subsidy

    payments covered the entire rental payment owed on the unit. See id.

       VI.      Defendants Cannot Succeed on Their Counterclaims Against the Whites

             On September 5, 2017 and without leave of the Court, Defendants pled two

    counterclaims against the Whites. See Motion to Dismiss and Strike [ECF No. 260] at 3-4. Even

    if not stricken by this Court, neither counterclaim can survive. For their first claim, Defendants

    pled breach of contract seemingly incorporating three causes of action into one: (1) a claim that

    the Whites failed to report a change in their income, causing an overpayment of their subsidy; (2)

    a claim that the Whites failed to make payments owed under a Repayment Agreement; and (3) a

    claim that the Whites failed to pay rent. See SAC Answer at 37-38. For their second claim,

    Defendants again alleged that the Whites failed to disclose their income. See id. at 38-39.

             With respect to the allegation that the Whites failed accurately to report their income,

    MHA attempts to stand in the shoes of HUD, the only proper claimant. MHA is a housing

    provider that receives federal funding, which in turn allows for Plaintiffs to live in subsidized

    housing. SMF ¶ 3. Defendants receive subsidies from the federal government known as HAP



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    payments, which make up the difference between the reduced rent and the market value of the

    units, thereby ensuring Defendants lose no rental income as a result of renting to low-income

    individuals. SMF ¶ 3. Thus, regardless of any reporting mistakes or misrepresentations made by

    a tenant, MHA receives the full contract rent for every unit. MHA thus does not have standing to

    bring any claims on the Whites’ purported failure to disclose their income or the overpayment of

    their subsidy. See, e.g., Smith v. U.S. Immigration & Customs Enf’t, 249 F. Supp. 3d 1203, 1206

    (D. Colo. 2017) (standing requires an “injury in fact”).

           The same is true with respect to the Repayment Agreement. Defendants admit that the

    amounts listed on the Repayment Agreement are owed to HUD, not them. SMF ¶ 111.

    Moreover, both HUD and CHFA have inspected the Repayment Agreement and have found it to

    be unsupported, resulting in HUD’s directive to rescind the agreement. SMF ¶¶ 112-113.

           The only claim raised in which Defendants allege a harm to themselves are their

    allegations that the Whites failed to make required rental payments to MHA directly. See SAC

    at 37-38. However, the record evidence shows that the Whites submitted full rental payments

    every month less the HUD-approved disability deduction. See SMF No. ¶¶ 116-117, 119.

    Defendants rejected these payments, improperly calculating the Whites’ income to deny that A.J.

    White was disabled for purposes of this litigation. Defendants then failed to adjust the Whites’

    rental amount after receiving an EIV discrepancy report establishing that they had inflated the

    Whites’ base income when calculating their rental obligation. See SMF ¶ 120. Knowing that

    they were not entitled to the inflated rents, Defendants went so far as to send the Whites a final

    demand for unpaid rent in these sums, withholding their security deposit. SMF ¶ 119.

    Defendants cannot bring a counterclaim for sums they know are not owed.




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          DATED this 9th day of May 2018.

                                            RATHOD ǀ MOHAMEDBHAI LLC

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                                  CERTIFICATE OF SERVICE

           I hereby certify that on May 9, 2018, I electronically filed the foregoing
    PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY JUDGMENT with the Clerk of the
    Court using the CM/ECF system, which will send electronic notification to the following:

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                                      RATHOD | MOHAMEDBHAI LLC

                                      s/ Laura B. Wolf____________
                                      Laura B. Wolf




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